                CASE 0:19-cr-00104-JNE-TNL Doc. 65 Filed 07/18/19 Page 1 of 1
117 East Center St.                                                                      Anna Restovich Braun
Rochester, Minnesota 55904                                                                   Thomas R. Braun
P 507/288-4840                                                                             Bruce K. Piotrowski
F 507/288-4908                                                                            Christopher W. Coon
www.restovichlaw.com                                                                     Dominique J. Navarro
                                                                                                Brent M. Tunis

                                                                                           George F. Restovich
                                                                                                   1946-2008
          July 18, 2019


                                                                   Sent via ECF
          The Honorable Ann D. Montgomery
          United States District Court
          9W U.S. Courthouse
          300 South Fourth Street
          Minneapolis, MN 55415

                 Re:      United State v. Mason Paul Stuhldreher
                          Court File No. 19-CR-104 (JNE/TNL)

          Dear Judge Montgomery:

          The deadline for pre-trial motions is today, July 18th, 2019. Defendant, Mason
          Stuhldreher, respectfully requests a 10-day extension to the motion deadline because of
          ongoing negotiations with the government to resolve this matter. The government has
          advised that they do not object to this request.

          Very truly yours,

          RESTOVICH BRAUN & ASSOCIATES



          Dominique J. Navarro
          dom@restovichlaw.com
